                  Case: 19-35461, 05/29/2019, ID: 11311482, DktEntry: 1-1, Page 1 of 4

                                        Office of the Clerk
                       United States Court of Appeals for the Ninth Circuit
                                      Post Office Box 193939
                               San Francisco, California 94119-3939
                                           415-355-8000
Molly C. Dwyer
Clerk of Court                              May 29, 2019


       No.:                        19-35461
       D.C. No.:                   3:17-cv-00101-SLG
                                   League of Conservation Voters, et al v. Donald Trump,
       Short Title:
                                   et al


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.




                 Case 3:17-cv-00101-SLG    Document 87     Filed 05/29/19   Page 1 of 1
